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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                         )      In Proceedings Under Chapter 13
                                               )      Honorable Donald R. Cassling
Eric C. Thomas,                                )
                                               )
                                               )      Case No. 19 B 11563
                        Debtor.                )

          NOTICE OF MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         TO: DEBTOR, DEBTOR=S COUNSEL, CHAPTER 13 TRUSTEE:

         Please take notice that on September 19, 2019, at 9:30 a.m. or as soon thereafter as the

same may be heard, the undersigned will present to the Honorable Donald R. Cassling (or any

other judge who may be presiding in his or her place), in Courtroom 619, Everett M. Dirksen

United States Courthouse, 219 S. Dearborn Street, Chicago, Illinois the attached motion for relief

from the automatic stay.

                                               RIEZMAN BERGER, P.C.

                                               /s/ Kathryn A. Klein
                                               Kathryn A. Klein, #06199235
                                               7700 Bonhomme, 7th Floor
                                               St. Louis, MO 63105
                                               (314) 727-0101
                                               Fax (314) 727-1086
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                         UNITED STATES BANKRUPTCY COURT
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In re:                                        )       In Proceedings Under Chapter 13
                                              )       Honorable Donald R. Cassling
Eric C. Thomas,                               )
                                              )
                                              )       Case No. 19 B 11563
                       Debtor.                )

                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not

individually but as trustsee for Pretium Mortgage Acquisition Trust ("Secured Creditor"), by and

through the undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a

modification of the automatic stay provisions for cause, and, in support thereof, states the

following:

         1.    Debtor filed a voluntary petition pursuant to Chapter 13 of the United States

Bankruptcy Code on April 22, 2019.


         2.    Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and statutes

affecting the jurisdiction of the Bankruptcy Courts generally.


         3.    On October 2, 1998, Borrower, Eric C. Thomas, executed and delivered a

Promissory Note (“Note”) and a Mortgage (“Mortgage”) securing payment of the Note in the

principal amount of $69,800.00 to FT Mortgage Companies d/b/a Sunbelt National Mortgage, a

Kansas Corporation. The Mortgage was recorded on October 8, 1998 in the Public Records of

Cook County, Illinois. The loan was transferred to Secured Creditor. True and accurate copies of

documents establishing a perfected security interest and ability to enforce the terms of the Note are
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attached hereto as Composite Exhibit “A.” The documents include copies of the Note with any

required indorsements, Recorded Mortgage, Assignment(s) of Mortgage, and any other applicable

documentation.


       4.      The mortgage provides Secured Creditor a lien on the real property located in Cook

County, Illinois, and legally described as stated in Composite Exhibit “A”. This property is

located at the street address of: 8735 South Winchester Avenue, Chicago, IL 60620.


       5.      The terms and conditions of the Note and Mortgage are in default due to Debtor’s

failure to maintain post-petition payments to Secured Creditor from May 1, 2019 and thereafter,

totaling $3,324.56.


       6.      Secured Creditor is due the amount of $67,211.36, good through September 6,

2019. Documentation supporting this claim is attached hereto as Exhibit “B”.


       7.      According to the Cook County Assessor valuation, the value of the property is

$89,810.00. See Exhibit “C” which is attached hereto and permissible as a property valuation

under Fed. R. Evid. 803(8).


       8.      Secured Creditor’s security interest in the subject property is being significantly

jeopardized by Debtor’s failure to comply with the terms of the subject loan documents while

Secured Creditor is prohibited from pursuing lawful remedies to protect such interest. Secured

Creditor has no protection against the erosion of its collateral position and no other form of

adequate protection is provided.


       9.      If Secured Creditor is not permitted to enforce its security interest in the collateral

or be provided with adequate protection, it will suffer irreparable injury, loss, and damage.
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       10.     Secured Creditor respectfully requests the Court grant it relief from the Automatic

Stay in this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

adequate protection to Secured Creditor for its interest in the above stated collateral. The value of

the collateral is insufficient in and of itself to provide adequate protection which the Bankruptcy

Code requires to be provided to the Secured Creditor. Secured Creditor additionally seeks relief

from the Automatic Stay pursuant to §362(d)(2) of the Bankruptcy Code, as the collateral is

unnecessary to an effective reorganization of the Debtor’s assets.


       11.     Once the stay is terminated, the Debtor will have minimal motivation to insure,

preserve, or protect the collateral; therefore, Secured Creditor requests that the Court waive the

14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).


       12.     Secured Creditor has incurred court costs and attorney’s fees in this proceeding and

will incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving and

protecting the property, all of which additional sums are secured by the lien of the mortgage.

Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or alternatively, leave

to seek recovery of its reasonable attorneys’ fees and costs in any pending or subsequent

foreclosure proceeding.


       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying the

automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to
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seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.




                                             Respectfully submitted,

                                             RIEZMAN BERGER, P.C.


                                             /s/ Kathryn A. Klein
                                             Kathryn A. Klein, #06199235
                                             7700 Bonhomme, 7th Floor
                                             St. Louis, MO. 63105
                                             (314) 727-0101
                                             klein@riezmanberger.com
                                             Attorneys for Secured Creditor
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                                      PROOF OF SERVICE

        The undersigned states that I served the Motion for Relief from the Automatic Stay, Notice
of said Motion, and proposed Order, all as attached, upon the Debtors by postage prepaid, in the
United States Mail, by first-class mail and upon the other parties named below via electronic
means, on September 11, 2019.


Eric C. Thomas                                      Debtor
8215 S. Elizabeth
Chicago IL 60620

David M. Siegel                                     Attorney for Debtor
790 Chaddick Drive
Wheeling IL 60090

Tom Vaughn                                          Chapter 13 Trustee
55 E. Monroe St., Suite 3850
Chicago IL 60603

Office of the United States Trustee
219 S. Dearborn St., Rm. 873
Chicago, IL 60604


                                             /s/ Kathryn A. Klein
